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                  THE LAW OFFICES OF SEAN M. MAHER, PLLC


                                                      November 4, 2020

                                                            Defendant's request to adjourn the Sentencing
                                                            from Nov. 19, 2020 until Jan. 21, 2021 at 12:00
VIA ECF                                                     noon is granted without objection by the
                                                            Government. Sentencing submissions are
Hon. Nelson S. Román                                        adjourned accordingly. Clerk of Court
United States District Judge                                requested to terminate the motion (doc. 350).
United States Courthouse                                    Dated: Nov. 5, 2020
300 Quarropas Street
White Plains, New York 10601

Re:      United States v. Owens et al., (Rahiem Miller),
      S4 17 Cr. 506 (NSR) -07

Dear Judge Román:

        On behalf of defendant Mr. Rahiem Miller, I respectfully write to request, in light of the
continued difficult conditions surrounding the COVID-19 pandemic, that the sentencing hearing
currently scheduled for November 19, 2020 be adjourned 60 days, and that all sentencing
submissions be adjourned in accordance with any new sentencing date set by the Court.

       I have conferred with the government concerning the defense’s adjournment request and
have been informed by AUSA Maurene Comey that the government has no objection to the
defense’s request.

                                                      Respectfully submitted,


                                                      ______/S/________________
                                                      Sean M. Maher
                                                      Counsel for Rahiem Miller

cc: All counsel via ECF




      11/5/2020

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